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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

LINITED STATES OF AMERICA                          $
                                                   $
V.                                                 $            CRIMINAL NO: l:19-CR-305-LY
                                                   $
(l) DAVrD RANDLE       JAKOBETT                    $


                   WAIVER OF RIGHTS AND CONSENT TO SENTENCING
                               BY VIDEO CONFERENCE
       .
       I acknowledge that I have a right to appear before United States District Judge Lee
Yeakel in person when pleading guilty or being sentenced. See United States v. Navarro, 169

F.3d228,239 (5th Cir. 1999) (holding that a couft may not sentence a defendant by video

conference unless the del'endant consents).   I further acknowledge that I may waive the right to

plead guilty or be senlenced, in person before .ludge Yeakel, under Federal Rule of Climinal

Procedure 43(c).

       I   have discussed the implications    of waiving        these rights with   my attorney, and I
understand the consequences of such a waiver.          I   am choosing to knowingly, intelligently, and

voluntarily waive my rights to be sentenced in person. I consent to Judge Yeakel accepting my

guilty plea and sentencing me via video conference.

       I am waiving rny lighrs and consenting of' iiiy' ,,rrvn ft'ec rvii! anci voiiiion. Noirr4,.
including my attorney; has coerced or improperly influerrced me in my decision to waive my

rights and consent to a guilty plea and        ins via video conference.

       Signed tnis   d4"aay     of                                ,2020.




                                              Defendant's

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